                              1   WEIL, GOTSHAL & MANGES LLP
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                              9
                                  Attorneys for Debtors
                             10   and Debtors in Possession
                             11
                                                              UNITED STATES BANKRUPTCY COURT
                             12                               NORTHERN DISTRICT OF CALIFORNIA
Weil, Gotshal & Manges LLP




                                                                   SAN FRANCISCO DIVISION
 New York, NY 10153-0119




                             13
      767 Fifth Avenue




                             14    In re:                                                Bankruptcy Case No. 19-30088 (DM)
                             15    PG&E CORPORATION,                                     Chapter 11
                             16             - and –                                      (Lead Case)
                             17    PACIFIC GAS AND ELECTRIC COMPANY,                     (Jointly Administered)
                             18                            Debtors.                      FOURTH MONTHLY FEE STATEMENT
                                                                                         OF WEIL, GOTSHAL & MANGES LLP
                             19     Affects PG&E Corporation                            FOR ALLOWANCE AND PAYMENT OF
                                    Affects Pacific Gas and Electric Company            COMPENSATION AND
                             20     Affects both Debtors                                REIMBURSEMENT OF EXPENSES FOR
                                                                                         THE PERIOD OF MAY 1, 2019 THROUGH
                             21    * All papers shall be filed in the Lead Case No.      MAY 31, 2019
                                   19-30088 (DM).
                             22                                                          Objection Deadline: August 26, 2019 at 4:00
                                                                                         p.m. (Pacific Time)
                             23

                             24                                                          [No Hearing Requested]

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                              Case: 19-30088          Doc# 3368   Filed: 08/05/19     Entered: 08/05/19 10:01:39   Page 1 of
                                                                               4
                              1    To: The Notice Parties

                              2    Name of Applicant:                             Weil, Gotshal & Manges LLP

                              3    Authorized to Provide Professional Services    Attorneys for Debtors and Debtors in Possession
                                   to:
                              4
                                   Date of Retention:                             April 9, 2019 nunc pro tunc to January 29, 2019
                              5
                                   Period for which compensation and              May 1, 2019 through May 31, 2019
                              6    reimbursement are sought:

                              7    Amount of compensation sought as actual,       $1,860,935.00 (80% of $2,326,168.75)
                                   reasonable, and necessary:
                              8
                                   Amount of expense reimbursement sought as      $59,807.79
                              9    actual, reasonable, and necessary:

                             10

                             11

                             12          Weil, Gotshal & Manges LLP (“Weil” or the “Applicant”), the attorneys for PG&E Corporation
Weil, Gotshal & Manges LLP




                                  and Pacific Gas and Electric Company (the “Debtors”), hereby submits its Fourth Monthly Fee
 New York, NY 10153-0119




                             13
                                  Statement (this “Monthly Fee Statement”) for allowance and payment of compensation for
      767 Fifth Avenue




                             14

                             15   professional services rendered and for reimbursement of actual and necessary expenses incurred for the

                             16   period commencing May 1, 2019 through May 31, 2019 (the “Fee Period”) pursuant to the Order

                             17   Pursuant to 11 U.S.C §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish

                             18   Procedures for Interim Compensation and Reimbursement of Expenses of Professional dated February

                             19   27, 2019 [Docket No. 701] (the “Interim Compensation Procedures Order”).

                             20          By this Monthly Fee Statement, Weil requests allowance and payment of $1,860,935.00 (80%

                             21   of $2,326,168.75) as compensation for professional services rendered to the Debtors during the Fee

                             22   Period and allowance and payment of $59,807.79 (representing 100% of the expenses allowed) as

                             23   reimbursement for actual and necessary expenses incurred by Weil during the Fee Period.

                             24          Annexed hereto as Exhibit A is the name of each professional who performed services for the

                             25   Debtors in connection with these Chapter 11 Cases during the Fee Period covered by this Fee Statement

                             26   and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is a summary of

                             27   hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses incurred

                             28   during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee Period.


                              Case: 19-30088      Doc# 3368     Filed: 08/05/19    Entered: 08/05/19 10:01:39       Page 2 of
                                                                             4
                              1   Attached hereto as Exhibit E are the detailed expenses entries for the Fee Period.
                              2          In accordance with the Interim Compensation Procedures Order, responses or objections to this

                              3   Monthly Fee Statement, if any, must be filed and served on or before the 21st day (or the next business

                              4   day if such day is not a business day) following the date the Monthly Fee Statement is served (the

                              5   “Objection Deadline”) with this Court.
                              6          Upon the expiration of the Objection Deadline, the Applicant shall file a certificate of no

                              7   objection with the Court, after which the Debtors are authorized and directed to pay the Applicant an

                              8   amount equal to 80% of the fees and 100% of the expenses requested in this Monthly Fee Statement. If

                              9   an objection is properly filed, the Debtors shall be authorized and directed to pay the Applicant 80% of

                             10   the fees and 100% of the expenses not subject to an objection.

                             11

                             12   Dated: August 5, 2019
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
                                                                             WEIL, GOTSHAL & MANGES LLP
      767 Fifth Avenue




                             14

                             15                                              By: /s/ Stephen Karotkin
                                                                                  Stephen Karotkin (pro hac vice)
                             16
                                                                             Attorneys for Debtors and Debtors in Possession
                             17

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                              Case: 19-30088      Doc# 3368      Filed: 08/05/19    Entered: 08/05/19 10:01:39         Page 3 of
                                                                              4
                              1                                                Notice Parties

                              2   PG&E Corporation
                                  c/o Pacific Gas & Electric Company
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                                  San Francisco, CA 94105
                              4   Attn: Janet Loduca, Esq.

                              5   Keller & Benvenutti LLP
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                              6   San Francisco, CA 94108
                                  Attn: Tobias S. Keller, Esq.,
                              7          Jane Kim, Esq.

                              8   The Office of the United States Trustee for Region 17
                                  450 Golden Gate Avenue, 5th Floor, Suite #05-0153
                              9   San Francisco, CA 94102
                                  Attn: James L. Snyder, Esq.,
                             10          Timothy Laffredi, Esq.

                             11   Milbank LLP
                                  55 Hudson Yards
                             12   New York, NY 10001-2163
                                  Attn: Dennis F. Dunne, Esq.,
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13         Sam A. Khalil, Esq.
      767 Fifth Avenue




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                                        Cecily Dumas, Esq.
                             20
                                  Bruce A. Markell
                             21   Fee Examiner
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                                  Chicago, IL 60611-3710
                             23
                                  Scott H. McNutt
                             24   324 Warren Road
                                  San Mateo, California 94402
                             25   Telephone: (415) 760-5601
                                  Attorney for Fee Examiner
                             26

                             27

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                              Case: 19-30088      Doc# 3368        Filed: 08/05/19   Entered: 08/05/19 10:01:39   Page 4 of
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